                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE

                                                 )
JOSEPH LEMING,                                   )
                                                 )
                      Plaintiff,                 )   Civil Action No. 3:16-cv-00744
                                                 )
     v.                                          )
                                                 )
MEDICREDIT, INC.,                                )
                                                 )
                      Defendant.                 )
                                                 )

                            AGREED ORDER
______________________________________________________________________

          Upon the agreement of Plaintiff, Joseph Leming, and Defendant, MediCredit,

Inc., it is hereby ORDERED, pursuant to Rule 41(a)(1)(A)(ii), this matter is dismissed

with prejudice and with each party to bear its own costs and fees.



                       SO ORDERED, this _____ day of November, 2016.

                       _______________________________________
                       WAVERLY D. CRENSHAW, JR.
                       UNITED STATES DISTRICT COURT



  ______________________                    By: /s/ Amy Lynn Bennecoff Ginsburg
  Thomas W. Whitworth,                          Amy Lynn Bennecoff Ginsburg
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